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                              UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

    NEILSON ENTERPRISES, INC.,

                            Plaintiff,

    v.                                                           Case No: 6:19-cv-875-Orl-31GJK

    FEDERAL INSURANCE COMPANY,

                            Defendant.


                                                 ORDER
           This cause comes before the Court on Defendant’s Motion for Award of Attorney’s Fees

    (Doc. 55), filed October 5, 2020.

           On December 21, 2020, the United States Magistrate Judge issued a report (Doc. 56)

    recommending that the motion be granted. No objections have been filed. Therefore, it is

           ORDERED as follows:

           1.      The Report and Recommendation is CONFIRMED and ADOPTED as part of this

                   Order.

           2.      The Motion for Award of Attorney’s Fees (Doc. 55) is GRANTED. Defendant is

                   awarded $34,959.46 in attorney’s fees against Plaintiff.

           3.      The Clerk is directed to enter a fees judgment for Defendant and against Plaintiff in

                   the amount of $34,959.46.


           DONE and ORDERED in Chambers, Orlando, Florida on January 14, 2021.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party
